                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                   CIVIL ACTION NO.: 1:11-CV-10051-PBS

JAMES WADE,                                )
                      Plaintiff            )
v.                                         )
                                           )
UNITED STATES OF AMERICA, and              )
DONNA DENESE ATHERTON, MSW                 )
                Defendants.                )
________________________________           )

     PLAINTIFF, JAMES WADE’S RENEWED MOTION FOR DEFAULT JUDGMENT
            AGAINST DEFENDANT, DONNA DENESE ATHERTON, MSW

        Upon the issuance of a Notice for Default [D.E. 26], entered by the Court on June 19,

2012, the Plaintiff respectfully requested the Court enter a Default Judgment against Defendant

Donna Denese Atherton, MSW (hereinafter “Defendant Atherton”) in the above-captioned case

pursuant to F.R.C.P. 55 on July 16, 2012 [D.E. 29]. On October 18, 2012, the Court entered its

Amended Memorandum and Order on Plaintiff’s Motion For Default Judgment [D.E. 39] which

denied the motion without prejudice to be renewed when “…the case has been adjudicated as to

the remaining defendant, so as to avoid the risk of inconsistent judgments.” Now that the

Plaintiff has settled his case against Defendant, United States of America and dismissed said

Defendant [D.E. 50], the Plaintiff respectfully renews his motion for default judgment against

Donna Denese Atherton, MSW. The Plaintiff requests a hearing for the Court to determine the

amount of damages, pursuant to F.R.C.P. 55(b)(33)(B).


                                           Factual History


        At all times relevant hereto, the Plaintiff, James Wade was treating at Roxbury

Comprehensive Community Health Center (hereinafter “RoxComp”), a Federally Supported Health
Center, pursuant to the Federally Supported Health Care Center Assistance Act of 1992 (Pub. L.102-

501), operating at all times relevant hereto, as a health center which conducted a Methadone

Assessment and Treatment (“MAT”) program in Boston, Massachusetts.               While a patient at

RoxComp, the Plaintiff submitted a request for an out-of-state courtesy dose form in order to attend a

family event in Georgia. On or about July 30, 2009, Defendant Atherton completed the dose form for

the Plaintiff, signed his name to the form without his permission, and incorrectly identified him as

being HIV positive. As a result of the highly sensitive information being transmitted to another

facility, and being incorrect, the Plaintiff has suffered and continues to suffer from depression,

anxiety, and loss of sleep. The Plaintiff also suffered from a fear that he actually was HIV positive

and had not been told so.

                                        Procedural History

       On January 10, 2011, the Plaintiff filed a Complaint [D.E. 1] against the United States of

America for the acts committed by both RoxComp and Defendant Atherton. The United States

denied that Defendant Atherton was an employee, and instead claimed that she was an independent

contractor. A Motion to Amend the Complaint to add Defendant Atherton as a party was filed with

the Court [D.E. 21] on February 29, 2012 and granted on March 30, 2012. Upon the granting of the

Motion, the Plaintiff served upon Defendant Atherton the Amended Complaint [D.E. 22], and a

Return of Service was filed with the Court on April 24, 2012 [D.E.24]. Although representations

were made that an Answer would be filed, none was filed. On June 19, 2012, the Court, upon the

request of the Plaintiff, entered a Notice of Default against Defendant Atherton [D.E. 26]. On July

16, 2012, Plaintiff filed his Motion for Default Judgment Against Defendant, Donna Denese

Atherton, MSW [D.E. 29]. On October 18, 2012, the Court entered its Amended Memorandum

and Order on Plaintiff’s Motion For Default Judgment [D.E. 39] which denied the motion

without prejudice to be renewed when “…the case has been adjudicated as to the remaining
defendant, so as to avoid the risk of inconsistent judgments.” Now that the Plaintiff has settled

his case against Defendant, United States of America and dismissed said Defendant [D.E. 50],

the Plaintiff respectfully renews his motion for default judgment against Donna Denese

Atherton, MSW.

        There is no dispute as to the courtesy dose form being signed by Defendant Atherton, that

Mr. Wade was incorrectly identified on the form as being HIV positive and the form was sent to a

facility in Georgia.

        WHEREFORE, the Plaintiff, JAMES WADE, respectfully requests that the Court hold a

hearing to determine the amount of damages based on the injuries suffered by the Plaintiff as a result

of the forgery of his signature to a document that falsely identified him as having a positive HIV

status and grant such other and further relief as it deems just and proper.

                                                        Respectfully submitted,



                                                        JAMES WADE, Plaintiff,
                                                        By his attorney,

                                                        /s/: Ross Annenberg____________
                                                        Ross Annenberg, Esquire
                                                        BBO No.: 560996
                                                        Abigail Williams & Associates, P.C.
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.

Served by ECF to:
Not applicable

Served by mail and Certified Mail to:
Donna Denese Atherton, MSW
7 Oak Ridge Drive West
Brockton, MA 02301-2143


Dated: April 23, 2013                         /s/: Ross Annenberg____________
                                              Ross Annenberg, Esquire
